                                                           Case 2:18-cv-01919-RFB-CWH Document 21 Filed 12/14/18 Page 1 of 3



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                                                      10                               UNITED STATES DISTRICT COURT
                                                      11                                       DISTRICT OF NEVADA
                                                      12
             3883 Howard Hughes Parkway, Suite 1100
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                    Las Vegas, Nevada 89169




                                                           RICHARD ZEITLIN, an individual;                    Case No.: 2:18-cv-01919-RFB-CWH
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                                                           ADVANCED TELEPHONY
                               L.L.P.




                                                      15   CONSULTANTS; MRZ MANAGEMENT,
                                                           LLC; DONOR RELATIONS, LLC; TPFE,
                                                      16   INC.; AMERICAN TECHNOLOGY                         CERTIFICATE OF INTERESTED
                                                           SERVICES; COMPLIANCE                              PARTIES
                                                      17   CONSULTANTS; CHROME BUILDERS
                                                           CONSTRUCTION, INC.; UNIFIED DATA
                                                      18   SERVICES;

                                                      19                         Plaintiffs,

                                                      20   v.

                                                      21   BANK OF AMERICA, N.A.;

                                                      22                         Defendant.

                                                      23          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, and to enable Judges and

                                                      24   Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned

                                                      25   counsel for Defendant Bank of America, N.A. (“BANA”), states that BANA is a national banking

                                                      26   association chartered under the laws of the United States with a main office and principal place of

                                                      27   business in North Carolina. BANA is a wholly-owned subsidiary of Bank of America Holding

                                                      28   Corporation. BANA is an indirect subsidiary of Bank of America Corporation, a publicly traded
                                                           Case 2:18-cv-01919-RFB-CWH Document 21 Filed 12/14/18 Page 2 of 3



                                                       1   corporation.
                                                       2          Dated: December 14, 2018           SNELL & WILMER L.L.P.

                                                       3

                                                       4                                         By: /s/ Kiah D. Beverly-Graham
                                                                                                     Amy F. Sorenson (NV Bar 12495)
                                                       5                                             Robin E. Perkins (NV Bar 9891)
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                                                       8                                             Attorneys for Bank of America, N.A.

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                                                       1                                CERTIFICATE OF SERVICE
                                                       2         I hereby certify that on this date, I electronically filed the foregoing CERTIFICATE OF
                                                       3   INTERESTED PARTIES with the Clerk of the Court for the U. S. District Court, District of
                                                       4   Nevada by using the Court’s CM/ECF system. Participants in the case who are registered
                                                       5   CM/ECF users will be served by the CM/ECF system.
                                                       6         DATED: December 14, 2018
                                                       7
                                                                                                     /s/ Lara J. Taylor
                                                       8                                            An Employee of Snell & Wilmer L.L.P.

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